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                        IN THE UNITED STATES DISTRICT COURT i i
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                       FOR THE EASTERN DISTRICT OF VIRGINIA ! - ;
                                    RICHMOND DIVISION                          !


UNITED STATES OF AMERICA,



v.                                                       CASE NO. 3:07CR225-002


CHRISTA DAWN PRITCHETT,
                       Defendant.



             REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE


        This matter is before the court pursuant to Title 28 U.S.C. § 636(b)(l)(B) and (b)(3) upon

the Defendant's request to enter a pleas of guilty pursuant to Fed. R. Crim. P. 11 and a written

plea agreement that has been entered into by the United States and the Defendant. The matter

was presented to the court upon the written consent of the Defendant and counsel for the

Defendant to proceed before a United States Magistrate Judge, said consent including the

Defendant's understanding that she consented to not only having the Magistrate Judge conduct

the hearing and enter any order of forfeiture, if applicable, but also to having the Magistrate

Judge make necessary findings and accepting any guilty plea as may be entered that could not be

withdrawn except for fair and just reason.

         The Defendant pled guilty to Count Two of the Indictment and the Criminal

Information in open court and pursuant to a Rule 11 inquiry. Upon consideration of the

responses and statements made by the Defendant under oath, on the record, and based upon the

written plea agreement and statement of facts presented, the court makes the following findings:

        1.      That the Defendant is competent to enter a plea of guilty;

        2.      That the Defendant understands the nature of the charges against her to which her
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         pleas are offered;


   3.    That the Defendant understands what the maximum possible penalties are upon


         conviction of the offenses charged, including any mandatory minimum periods of


         confinement, the effect of any required term of supervised release, the loss of


         various civil rights (if applicable, including the right to vote, the right to hold


         public office, the right to own and possess a firearm), the possibility of adverse


         immigration consequences (if applicable), the required imposition of a special


         assessment, forfeiture of real and/or personal property (if applicable), and


         restitution (if applicable);


   4.    That the sentencing court has jurisdiction and authority to impose any sentence


         within the statutory maximums provided, but that the court will determine the


         defendant's actual sentence in accordance with 18U.S.C. §3553 (a) and that the


         court, after considering the factors set forth in 18 U.S.C. § 3553(a), may impose a


         sentence above or below the advisory sentencing range, subject only to review by


         higher courts for reasonableness;


   5.    That the Defendant understands her right to persist in a plea of not guilty and


         require that the matter proceed to trial with all the rights and privileges attending a


         trial, including, but not limited to: the right to effective assistance of counsel; the


         right to use the power and processes of the court to compel evidence on the


         Defendant's behalf; the right to confront and cross-examine adverse witnesses; the


         right to present relevant evidence; the right to remain silent; and the right to trial


         by jury;


   6.    That the Defendant understands that she is waiving any right to appeal whatever
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              sentence is imposed by pleading guilty, even if the sentence is erroneous, as long


               as said sentence does not exceed the total statutory penalties provided;


       7.     That the Defendant understands all provisions of the written plea agreement


               which was reviewed in essential part with the Defendant during the proceeding;

       8.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily


               entered and is not the result of force or intimidation of any kind; nor is it the result


               of any promises other than the representations set forth in the plea agreement; and


       9.      That the pleas of guilty entered by the Defendant were knowingly and voluntarily

               made with full knowledge of the consequences and with an independent basis in


               fact to support said pleas.


       Accordingly, the court accepted the Defendant's pleas of guilty to Count Two of the

Indictment and the Criminal Information and entered judgment of guilt on the subject charges. It

is therefore the recommendation of this court that its findings, including the acceptance of the


Defendant's pleas of guilty and resulting judgment of guilt, be adopted.




                                                      M. Hannah Ltuck
                                                      United States Magistrate Judge



Dated: July 31,2007
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                                            NOTICE


       The Defendant is advised that he/she may file specific written objection to this


report and recommendation with the court within ten (10) days of this date. If objection is


noted, the party objecting must promptly arrange for the transcription of the relevant


record and file it forthwith with the court for its use in any review. Failure to object in


accordance with this notice, including the requirement for preparation of a transcription of


the relevant portions of the record, will constitute a waiver of any right to de novo review of


the matter and may result in adoption of the recommendation, including the finding of


guilt as entered by the magistrate judge.
